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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA


  SONY MUSIC ENTERTAINMENT, et al.,


              Plaintiffs,
                                              Case No. 1:18-cv-00950-LO-JFA
        v.

  COX COMMUNICATIONS, INC. and
  COXCOM, LLC.


              Defendants.



  COX’S REPLY MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION IN LIMINE
        NO. 2 TO PRECLUDE EVIDENCE AND TESTIMONY RELATING TO
                   THIRD-PARTY INFRINGEMENT NOTICES
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         Plaintiffs’ opposition to Cox’s Motion in Limine No. 2 to Preclude Evidence and

 Testimony Relating to Third-Party Infringement Notices confirms their intention to color the

 alleged infringements in this case by offering evidence of other alleged infringements which have

 never been proven and will not be adjudicated. Plaintiffs’ attempt to litigate this case with

 evidence from an unrelated case concerning acts of infringement that are not at issue is

 inappropriate, improper, and prejudicial. Plaintiffs’ evidence of third-party infringement

 allegations should be excluded from trial.1

         A.     Third-party infringement notices are irrelevant to any claim or defense in
                this case.

         Plaintiffs variously argue that all third-party notices are relevant to show that Cox “knew

 about and willfully blinded itself to vast infringing activity on its network;” that a subset of those

 notices “associated with” subscribers who also received MarkMonitor notices are relevant to show

 Cox’s knowledge of infringement for all of those subscribers’ alleged infringements; and that “the

 volume of these infringement notices” shows Cox’s “financial incentive to tolerate infringement.”

 Plaintiffs thus conclude that these arguments are relevant to the “financial benefit” requirement of

 vicarious liability; that third-party notices are relevant to willfulness because they demonstrate

 “Cox’s disregard for Plaintiffs’ copyrights was even more reprehensible;” and that the notices are

 relevant to statutory damages—for reasons Plaintiffs do not articulate. All of Plaintiffs’ theories

 fail.




 1
   In its motion, Cox identified a nonexclusive list of 12 exhibits relating to third-party notices
 that should be excluded. These are attached hereto as Exhibits 2-13.
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                 1.     Evidence of third-party notices of alleged infringement are not
                        evidence of anything.

          As a preliminary matter, the infringement notices that Plaintiffs want to introduce into

 evidence are not evidence that anyone engaged in infringement. This Court specifically held as

 much in BMG, explaining that infringement notices were “accusation[s] only” and “not offered for

 the truth of … whether or not there was an infringement.”2              Indeed, Plaintiffs have not

 substantively disputed Cox’s Motion in Limine seeking to preclude any argument that Plaintiffs’

 notices in this case are evidence of infringement.3 The Rightscorp notices were admissible in BMG

 because there was additional evidence tending to show that the notices did in fact relate to actual

 infringing conduct. That evidence was disputed and it differed materially from the evidence in

 this case, but it would have been left to the jury to weigh it following retrial. Even accepting every

 theory that Plaintiffs intend to adduce in support of the third-party notices’ admissibility, they do

 not prove that Cox ignored other acts of infringement, because they do not prove that any such

 acts of infringement took place. To be proof of the (false) claim that Cox turned a blind eye to

 infringing conduct relating to works not at issue in this case, Plaintiffs will be required to prove

 that such infringement existed. Plaintiffs have not identified any testimony or exhibits establishing

 the nature and scope of the Rightscorp infringement, and cannot establish the relevance of the

 notices. Even if they had proposed to offer such proof, such a “trial-within-a-trial” can only serve

 to massively prolong the evidence in this case and to confuse the jury as to what the evidence is as

 to the acts of infringement that are actually in dispute.



 2
     Ex. 14 (BMG Trial Tr. 235:15-23).
 3
   See Opp. at 30 (admitting that notices are merely “shorthand” for the output of infringement
 detection systems, and that “[w]hile witnesses may use the term infringement, or infringement
 notices, the ultimate decisions on the existence of direct infringement and secondary
 infringement are for the jury alone”).

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                2.      Evidence of third-party notices concerning alleged acts of
                        infringement that are not in suit are not relevant to Cox’s knowledge
                        of, or willful blindness to, the alleged acts of infringement at issue
                        here.

        As Cox explained in its motion, Plaintiffs’ claim that third-party infringement notices are

 relevant to proving the knowledge element of contributory infringement must fail under the

 standard established by the Fourth Circuit in BMG. Under that standard, the only knowledge that

 is legally relevant to Cox’s culpability for the acts of infringement in suit, is knowledge “that Cox

 knew of specific instances of infringement or was willfully blind to such instances.” BMG Rights

 Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d 293, 312 (4th Cir. 2018) (emphasis added).

 Mere “generalized knowledge” that “infringement was occurring somewhere on its network” is

 not sufficient to establish secondary liability.      Id.   Knowledge of third-party infringement

 allegations—including the nearly 15 million allegations listed in the Rightscorp database—does

 not confer knowledge of the “specific instances of infringement” at issue here. At most, it is

 precisely the kind of “generalized knowledge” of infringement that the Fourth Circuit specifically

 rejected as a basis for contributory infringement liability.

                3.      Evidence that specific Cox subscribers received third-party notices in
                        addition to MarkMonitor notices is irrelevant to Cox’s knowledge of
                        the infringements alleged here.

        Aware that their claim of relevance for nearly 15 million third-party notices that somebody

 allegedly engaged in infringement on Cox’s network is tenuous (at best), Plaintiffs argue that a

 smaller subset of those notices are relevant on the theory that they relate to “the same subscribers

 who were the subject of MarkMonitor’s notices.” Opp. at 6. But even these third-party notices

 are irrelevant for the same reason the rest of the third-party notices are: they indisputably do not

 involve the “specific instances of infringement” alleged here, as required by the Fourth Circuit’s

 knowledge standard.


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           To avoid this barrier, Plaintiffs invent a new theory of contributory infringement liability,

 under which “Cox’s knowledge that a specific subscriber is engaged in infringement” is not

 “cabined to the rightsowner’s notice to Cox concerning the infringing subscriber.” Instead,

 according to Plaintiffs, Cox’s purported knowledge that a particular subscriber is the subject of

 one infringement notice relating to a third party’s works is sufficient to establish Cox’s knowledge

 of infringing acts by that subscriber (including infringements of Plaintiffs’ works).

           This remarkable expansion of copyright liability is based entirely on a single sentence in

 the Fourth Circuit’s BMG decision, in which that court said that “the proper standard” for

 contributory infringement “requires a defendant to have specific enough knowledge of

 infringement that the defendant could do something about it.” BMG, 881 F.3d at 311-312.

 Plaintiffs’ argument is apparently that: (1) Cox knew that Subscriber X was accused of

 infringement by Rightscorp or other rights holders; (2) that knowledge was sufficient to allow Cox

 to stop the infringement that was the subject of the notice by “doing something about it,” i.e.,

 terminating Subscriber X; and (3) that level of awareness is sufficient enough to prove Cox’s

 knowledge of a “specific act of infringement” by Subscriber X of Plaintiffs’ works, establishing

 that Cox was contributorily liable for Subscriber X’s infringement of Plaintiffs’ works. See Opp.

 at 6-7.

           This illogical and extreme argument misses the point of BMG. Plaintiffs are essentially

 arguing that the knowledge requirement exists at the level of the subscriber, not the specific act of

 infringement. Put another way, Plaintiffs maintain that once an ISP is on notice that a subscriber

 may have infringed one copyright, it has culpable knowledge of that subscriber’s infringement of

 every copyright. To the contrary, the purpose and effect of the Fourth Circuit’s decision was to




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 strengthen the knowledge requirement and to lay to rest the notion, urged by BMG in that case,

 that mere “generalized knowledge” of infringement was a valid basis for liability.

        If adopted, Plaintiffs’ position here would have completely bizarre and unprecedented

 results. For example, it is axiomatic that evidence that a subscriber directly infringed Copyright

 X could not be used to prove that he or she also directly infringed Copyright Y, any more than

 evidence that a driver ran a stop sign in Bethesda could be used to prove that he later ran a different

 stop sign in Arlington. But under Plaintiffs’ theory, evidence that Cox knew that a subscriber

 allegedly infringed Copyright X could be used to prove that Cox knew he also infringed Copyright

 Y. That result makes no sense, and is inconsistent with the requirement of knowledge of the

 “specific act of infringement” at issue.

                4.      The “volume of infringement notices” is not relevant to Plaintiffs’
                        vicarious liability claim.

        Plaintiffs make a conclusory and novel claim that the “volume” of third-party infringement

 notices is relevant to vicarious liability, on the theory that the receipt of large numbers of

 infringement notices combined with Cox’s purported failure to “enforce its own policies”

 demonstrates “Cox’s financial incentive to tolerate infringement.” Opp. at 7.

        First, this presumes that the notices related to actual underlying infringement and that

 Cox’s behavior with respect to these notices was financially motivated. As explained above,

 Plaintiffs have not proposed to adduce any such evidence, and the trial-within-a-trial that would

 ensue if they did would be inappropriate.

        In addition, vicarious infringement requires a showing that “the value of the service lies in

 providing access to infringing material;” that infringement is an “added benefit” for the provider

 is not sufficient. Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004). Cox’s receipt of

 infringement notices is not at all probative of Plaintiffs’ burden to show that the infringement


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 alleged in those notices (which has not been and cannot be proven) is the “draw” for Cox’s

 subscribers. Id. As Cox has explained elsewhere, the notion that infringing activity provides “the

 value of” Cox’s high-speed internet service is absurd: the demand for Internet access is ubiquitous,

 and there is no evidence that access to infringing materials increases it whatsoever. Without such

 evidence, Cox’s receipt of infringement notices is irrelevant to vicarious infringement.

                5.      Third-party infringement notices are not relevant to willfulness.

        Plaintiffs assert that evidence of third-party infringement notices is relevant to willful

 infringement because “Cox’s reckless disregard for Plaintiffs’ copyright is based, in part, on Cox’s

 lax response to severity of the overall infringing activity on its network.” Opp. at 7. This is

 nonsense. First, it relates, once again, to the existence of unproven infringement of third party

 works—proof that Plaintiffs have not proposed to put before the jury. Second, whether Cox acted

 with reckless disregard to some third party’s rights is not probative of whether Cox acted with

 reckless disregard of Plaintiffs’ rights. This is particularly true in the case of the Rightscorp

 notices. Cox blocked those notices, and that decision on Cox’s part was at the heart of BMG’s

 willfulness case. But Cox processed every one of Plaintiffs’ notices here. Even if it were

 established that Cox acted with “reckless disregard” to the copyrights underlying the blocked

 Rightscorp notices, that would demonstrate nothing about Cox’s intent with respect to Plaintiffs’

 unblocked notices.

                6.      Third-party infringement notices are not relevant to statutory
                        damages, including the “need for deterrence.”

        Finally, Plaintiffs offer a single sentence suggesting that “all the issues covered above fall

 squarely within the broad considerations for a jury when assessing statutory damages, especially

 the need for deterrence.” Opp. at 7. Plaintiffs’ failure to offer any explanation or analysis in

 support of this assertion bars its consideration here. See, e.g., The Carrolton of Fayetteville v. Pine


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  Manor Rest Home, 215 B.R. 341, 343 (E.D.N.C. 1997) (issues “averted to in a perfunctory manner,

  un-accompanied by some effort at developed argumentation, are deemed waived”). Regardless,

  Plaintiffs’ argument is meritless. Any need for “deterrence” of Cox’s conduct must be rooted in the

  conduct that is established by the evidence in this case and that is accused in this case, not in allegations

  that are unproven on this record and involve different parties and different copyrighted works.

          B.      Admission of third-party infringement notices would be unfairly prejudicial
                  to Cox.

          As Cox explained in its motion, admitting evidence into this case of third-party

  infringement notices would unfairly prejudice Cox and severely complicate the trial; it would

  present the jury with evidence of millions of allegations of infringement that Cox could not easily

  evaluate—never mind refute. The effect on the jury could only be to paint Cox as (to use the word

  Plaintiffs repeatedly invoke) a “reprehensible” actor, responsible for massive and systematic

  infringement. But none of that alleged infringement is at issue here nor can it be proven in this

  case, and Plaintiffs have not identified witnesses who would be capable of proving it. There are

  serious questions about the accuracy and validity of the infringement notices at issue in this case;

  introducing evidence of millions of additional third-party notices would require a massive trial

  within the trial, distracting the jury from the infringement questions actually at issue and unfairly

  forcing Cox to defend allegations of infringement of copyrights Plaintiffs do not own, but are

  owned by entities not party to this case. Plaintiffs have offered no response to these issues,

  effectively conceding the need for a full-blown trial on the third-party infringement notices without

  proof. Such a mini-trial would “confus[e] the issues, mislead[ ] the jury,” result in “undue delay”

  and “wast[ed] time” at trial, and the evidence requiring it is properly excluded under Federal Rule

  of Evidence 403.




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         C.      Evidence of third-party infringement notices is otherwise inadmissible.

         Plaintiffs’ evidence of the Rightscorp notices is a spreadsheet produced in discovery about

  which none of Plaintiffs’ witnesses has any personal knowledge. It is a statement by an unknown

  out-of-court declarant offered for its truth and is clearly hearsay. It purports to be a summary of

  millions of infringement notices that are themselves not in evidence, and so is an improper

  summary under Federal Rule of Evidence 1006. Plaintiffs dispute none of this. Their only

  argument for the admissibility of the Rightscorp spreadsheet is that it was admitted in BMG. But

  admissibility in one case does not confer admissibility in another, and the circumstances of the

  spreadsheet’s admission in BMG were starkly different. In BMG, the plaintiffs offered the

  spreadsheet through a Rightscorp witness with personal knowledge of its provenance. Plaintiffs

  have no such witness here. See ECF 222 (Plaintiffs’ Witness List). In BMG, the spreadsheet was

  not an improper summary because the underlying data was available for inspection by Cox, which

  it was able to cross-examine the Rightscorp witness about it. Plaintiffs do not have either the data

  underlying the spreadsheet or the Rightscorp notices (and so far as Cox knows, made no attempt

  to obtain them) and have no witness who can be cross-examined about their contents. See id.

         As for Plaintiffs’ fallback assertion that they can bootstrap inadmissible Rightscorp data

  into evidence through their expert Dr. McGarty, they are wrong. Federal Rule of Evidence 703

  allows an expert witness to disclose inadmissible facts to the jury “only if their probative value in

  helping the jury evaluate [his] opinion substantially outweighs their prejudicial effect.” Fed. R.

  Evid. 703. As already noted, Plaintiffs have made no attempt to rebut Cox’s showing that evidence

  of the Rightscorp notices would be irrelevant and unfairly prejudicial to Cox. Those problems

  would persist whether the evidence comes in on its own or through Dr. McGarty. Further, Rule

  703 applies only if the expert in question is prepared to vouch for the otherwise inadmissible data.

  Here Dr. McGarty’s report simply accepts the bona fides of the BMG spreadsheet, it does not opine
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  as to that document’s reliability. Nor have Plaintiffs’ offered a declaration from Dr. McGarty

  opining as to the document’s reliability. Indeed, there is no way that such an offer could have been

  made, since Dr. McGarty’s report does not identify any evidence from the BMG record relied on

  or even reviewed by him, and, hence, offers no basis on which he could have opined as to the

  spreadsheet’s reliability.

         For all the reasons given in Cox’s motion and this reply, Plaintiffs should be precluded

  from introducing any evidence of third-party allegations of infringement of copyrights held by

  non-parties to this case.



  Dated: November 6, 2019                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I certify that on November 6, 2019, a copy of the foregoing was filed electronically with

  the Clerk of Court using the ECF system, which will send notifications to ECF participants.



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